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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            March 6, 2014
8                      Defendants. )            3:35 p.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
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                                  LEN GOODMAN LAW OFFICE, LLC
17                                     BY: MR. LEONARD C. GOODMAN
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20
21
22   For the Defendant:           DYKEMA GOSSETT PLLC
                                       BY: MR. TERRENCE M. BURNS
23                                          MR. DANIEL M. NOLAND
                                            MR. PAUL A. MICHALIK
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1         (The following proceedings were had in open court:)
2                THE COURT: 10 C 1168, Fields v. City of Chicago.
3    Can I get the lawyers' appearances for the record, please?
4                MS. GORMAN: Candace Gorman for Mr. Fields.
5                THE COURT: Just one person can say everybody's name.
6    That's fine.
7                MR. NOLAND: Did you want --
8                THE COURT: One person can say everybody's name.
9                MS. GORMAN: And Melissa Matuzak for Mr. Fields, and
10   Len Goodman.
11               THE COURT: I thought you were going to check the
12   names.
13               MR. NOLAND: Good afternoon, your Honor; Dan Noland,
14   Paul Michalik and Terry Burns for the City defendants.
15               THE COURT: Okay. So we're going to start with the
16   defendants' motions in limine because they concern the
17   plaintiff's case. I know there is some overlap. I get that.
18               So the first motion has to do with the translated
19   transcripts of the wiretaps. So the first issue I want to
20   talk about there is the hearsay issue which isn't addressed in
21   the motion. It's raised in the reply. I mean, you're
22   offering the transcripts for the truth of what's said on them.
23               So I want to know how you get past the hearsay
24   objection. I assume it's a coconspirator declaration issue.
25               MR. NOLAND: Your Honor, under 801(d)(2)(E),
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1    statements made by coconspirator during the course of and in
2    furtherance of the conspiracy.
3                THE COURT: So normally the way that gets decided,
4    and the best -- this issue comes up most commonly in criminal
5    cases -- the judge has to make a preliminary ruling by a
6    preponderance of the evidence whether, A, there is a
7    conspiracy; B, that the defendant, or the plaintiff in this
8    case, was a member of the conspiracy at the relevant time and
9    the statements are in furtherance of the conspiracy.
10               So how do you propose to prove those things?
11               MR. NOLAND: First of all, plaintiff has admitted an
12   officer, a high ranking member of the El Rukns.
13               Secondly --
14               THE COURT: Just because he's a member of the El
15   Rukns does not make him a member of the conspiracy that you're
16   talking about here, which is a conspiracy to bribe Judge
17   Maloney. That is the basis on which --
18               MR. NOLAND: Yes.
19               THE COURT: That's what these transcripts concern.
20               MR. NOLAND: Mr. Fields, it's our allegation, was the
21   hit man on this particular case. At the trial the El Rukns
22   gave $10,000 on behalf of both Fields and Hawkins to acquit
23   them.
24               THE COURT: So it's late in the afternoon. We have
25   limited time, and you have given me a couple of truckloads of
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1    material here. So I'm going to ask my question again. I
2    don't want your conclusion. I know what your conclusion is.
3    I want to know what the evidence is that you have to establish
4    it.
5                MR. NOLAND: Mr. Hawkins testified Fields knew. The
6    transcripts stated that Hoom or Zoom has put Hukm, who is
7    Fields, in tune with the star situation. That's the bribe.
8                THE COURT: The person who is saying that on the
9    transcript is Mr. Hawkins?
10               MR. NOLAND: It is Alan Knox --
11               THE COURT: Mr. Knox.
12               MR. NOLAND: -- who is one of the highest ranking
13   members speaking with Jeff Fort, who asks: What about Hukm?
14               Jeff Fort is on the transcripts specifically ordering
15   his men to pass a note to Nathson Fields letting him know
16   about the bribe.
17               There is a statement on the transcripts stating the
18   brothers from Medina, who are two El Rukns from Milwaukee, put
19   Nathson Fields in tune with the --
20               THE COURT: Back up on that one again. Give it to me
21   again, about the brothers from Medina.
22               MR. NOLAND: There is a statement on the transcripts,
23   I believe it's Alan Knox, stating Nathson Fields -- the
24   brothers from Medina who are -- Medina is Milwaukee in El Rukn
25   parlance -- have put Nathson Fields in tune with the star
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1    situation, or in tune with --
2                THE COURT: They have told him about it, in other
3    words.
4                MR. NOLAND: They have told him about it.
5                The transcripts --
6                THE COURT: Is there any indication, at least as you
7    read them, of who the brothers from Medina are?
8                MR. NOLAND: Roger Bowman and Louis Lomas.
9                THE COURT: Bowman and?
10               MR. NOLAND: Louis Lomas, L-o-m-a-s.
11               THE COURT: Okay. What else? I'm not saying there
12   has to be more, but I'm just asking. I want sort of the
13   complete catalog.
14               MR. NOLAND: I started out with the statement that he
15   is a high ranking member of the El Rukns, and the nature of
16   the organization is such that it was being done for his
17   benefit which --
18               There's several lines on the transcripts where Jeff
19   Fort says: This is for all of them. Everybody must be set
20   free or else I get my money back. And so it's for his benefit
21   as well.
22               It is also that in January he says he didn't know
23   about it. Corroboration that he did know and was involved and
24   didn't reveal it and was part of the cover-up, in January 1990
25   he wrote to Bill Swano asking Swano.
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1                THE COURT: Who is he?
2                MR. NOLAND: Nathson Fields wrote to Bill Swano
3    asking Swano to visit him at Menard. Swano visited him at
4    Menard.
5                THE COURT: That is years after the conspiracy.
6                MR. NOLAND: That is four years later.
7                THE COURT: Yeah. So what did he allegedly say at
8    that time? He asks Swano to come visit him at Menard?
9                MR. NOLAND: Swano asked Hawkins what he knew -- I'm
10   sorry. Swano asked Fields and brought up the bribe. Hey, did
11   you see --
12               THE COURT: How are you going to get this in? Is
13   Mr. Swano going to come testify?
14               MR. NOLAND: Nathson Fields admits it.
15               THE COURT: Where does he admit it?
16               MR. NOLAND: In his deposition.
17               THE COURT: I'm not disagreeing with you.
18               MR. NOLAND: In his deposition.
19               THE COURT: In his deposition Mr. Fields says what?
20               MR. NOLAND: He says that Swano came down, brought up
21   a bribe: Did you see me pass any money to the judge?
22               Mr. Fields says: No, I didn't. Fields then does not
23   bring that to anybody's attention, his attorney, at his
24   postconviction, and instead he waits until after, after
25   Maloney is indicted and is public knowledge. And then our
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1    contention is he is then safe to rely upon the bribe.
2                THE COURT: Okay. Anything else, or have you given
3    me a complete list?
4                MR. NOLAND: Hawkins has testified as well that
5    Fields was present with him in the lockup when Bill Swano
6    talked to them about the bribe, which I mentioned earlier that
7    Hawkins told him about it, but Hawkins also said that they
8    were all together talking about it.
9                And Mr. Fields has admitted that Judge Maloney was a
10   prosecution-minded judge, that he wanted to have a jury trial,
11   and he ultimately waived his right to a jury at about noon on
12   June the 17th, the start of the trial, when, at the very same
13   time, Swano was picking up the money at the Fort or was at the
14   Fort trying to arrange to get the money. Fields and Hawkins
15   were waiting to waive the jury until the money came through
16   from the El Rukns to Swano. The timing of it also suggests
17   strongly that Fields was aware of the bribe.
18               And then, finally, there was a finding two days ago
19   by Judge Biebel that Fields was complicit in the bribe.
20               THE COURT: Yes, I saw that. I mean, I'm assuming
21   you are familiar with the fact that the Illinois Supreme Court
22   has said that collateral estoppel doesn't apply to matters
23   that are on appeal, and there hasn't even been an opportunity
24   to file a notice of appeal. That has been the law in Illinois
25   for decades. You know that, right?
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1                MR. NOLAND: Judge --
2                THE COURT: It's just a question. You know that,
3    right?
4                MR. NOLAND: Judge, do I know that? I do not doubt,
5    your Honor, that that is what it is.
6                THE COURT: Just a second. I will tell you the
7    cases. Just bear with me.
8         (Brief interruption.)
9                THE COURT: So what we're talking about here is what
10   in Illinois courts is still called collateral estoppel
11   although it's more commonly called issue preclusion in federal
12   court. And under federal law, there is a statute. The full
13   faith and credit statute says that a federal court has to give
14   a state court's judgment the same full faith and credit that a
15   state court would have to give it. I forget what that statute
16   is. I think it's 28 USC 1783, if I recall correctly.
17               In -- let's see -- Ballweg, B-a-l-l-w-e-g, v. City of
18   Springfield -- I will give you just the N.E. cite. 499 N.E.2d
19   1373. Quote:
20               "For purposes of applying the doctrine of collateral
21   estoppel, finality requires that the potential for appellate
22   review must have been exhausted. That is repeated by the
23   Illinois Supreme Court in the case of In Re: A.W., 896 N.E. 2d
24   316, which was decided in 2008. So collateral estoppel
25   doesn't apply.
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1                MR. NOLAND: As we sit here today, the plaintiff has
2     not filed a notice of appeal.
3                THE COURT: The decision was issued when?
4                MR. NOLAND: Tuesday.
5                THE COURT: And you heard --
6                Perhaps you did not hear the quote as I read it to
7     you. The quote says:
8                "The potential for appellate review must have been
9     exhausted."
10               So logically if the time for filing a notice of
11    appeal hasn't run, the potential for appellate review hasn't
12    been exhausted.
13               MR. GOODMAN: I can assure the Court that we will be
14    filing a notice.
15               THE COURT: It's kind of a no-brainer. I assume he's
16    going to file one.
17               So there is no collateral estoppel. That motion is
18    utterly lacking in merit. It's barred by binding authority, I
19    might add.
20               So aside from that, have you given me your whole
21    basis under 801(d) because, once you do, I want to give the
22    plaintiff a chance to respond to it.
23               MR. NOLAND: There are additional reasons to admit
24    the wiretaps. They show the manner in which Jeff Fort ran the
25    gang. His orders went --
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1                THE COURT: But, I mean, you're bootstrapping
2     bootstraps with bootstraps that are tied to bootstraps there.
3     You're offering this for the truth of the matter asserted.
4     You have to get past the hearsay objection.
5                I mean, the rest of it, to show that, well, the El
6     Rukns were bad people and they operated this way, you're all
7     offering this to prove the truth of the matter asserted.
8     That's the predominant purpose for which it's offered, and you
9     have got to get past the hearsay objection.
10               MR. NOLAND: And I had some additional points to
11    make. There are examples that the El Rukn James Speights, who
12    is a friend of --
13               THE COURT: James?
14               MR. NOLAND: James Speights.
15               THE COURT: Spell it.
16               MR. NOLAND: S-p-e-i-g-h-t-s, General Mish Ma, and
17    Jackie Clay, who is Doc Ishmael, who we expect to be
18    testifying, were out with William Swano seeking to find and
19    intimidate witnesses, and there are references to that in the
20    transcript as well.
21               THE COURT: What does that have to do with the
22    bribery?
23               MR. NOLAND: It does --
24               THE COURT: The stuff that is covered in Exhibit 1 is
25    largely about the bribery. At least that's the way it's
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1     described.
2                MR. NOLAND: It's also about -- it's all the
3     wiretaps. And so our argument is --
4                THE COURT: Fair enough.
5                MR. NOLAND: Not only the bribery, but the
6     intimidation, Jeff Fort's running of the gang, the monitoring
7     of the trial as it proceeded was all in the conspiracy. The
8     entire trial was corrupted by the El Rukns, and that is our
9     argument is that Mr. Fields was -- for his benefit, he was
10    knowledgeable about it. He was told about the bribe. He
11    participated in government meetings and knew what would
12    happen.
13               And those are our arguments in support of the
14    application of the coconspirator exception.
15               THE COURT: Mr. Goodman.
16               MR. GOODMAN: To address the points, and I will try
17    not to miss any.
18               THE COURT: I will hit you with the stuff that you
19    miss.
20               MR. GOODMAN: First, the wiretap transcripts, Mr.
21    Noland has cited two excerpts which they claim support Fields'
22    knowledge of the bribe.
23               THE COURT: This is the thing about -- this is the
24    thing about the brothers from Medina.
25               MR. GOODMAN: I have the transcript right here,
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1     Judge.
2                First of all, it's our position that there is
3     absolutely no credible evidence linking Fields even to
4     knowledge, must less participation.
5                THE COURT: I understand that's the position. As I
6     said with Mr. Noland, we really need to focus on the issues.
7                MR. GOODMAN: The transcript that Mr. Noland refers
8     to, it's a conversation between Mr. Knox and Fort.
9                THE COURT: Where in the big binder of Exhibit 1 is
10    this? Which subexhibit is it, I guess?
11               MR. NOLAND: It's Exhibit 1, your Honor.
12               THE COURT: Yes, I know, but there's like 20 sub-
13    exhibits in there. Which one?
14               MR. GOODMAN: I'm seeing People's Exhibit 6. Is that
15    right?
16               THE COURT: It's D. It's D. Does it say 5/10/86 at
17    2:57 p.m. at the very top of the first page?
18               MR. GOODMAN: Yes.
19               THE COURT: Okay, I've got it. Go ahead.
20               MR. GOODMAN: Correct. And if you look at page 2.
21               THE COURT: Page 2.
22               MR. GOODMAN: Judge, Fort says -- I'm sorry.
23               MS. MATUZAK: It's 6/24/86.
24               MR. GOODMAN: I'm sorry. It's the wrong one, Judge.
25    It's 6/24/86.
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1                THE COURT: Let me just get to that.
2          (Brief interruption.)
3                THE COURT: It's the exhibit at 9:30 p.m.?
4                MR. GOODMAN: Yes.
5                THE COURT: That's Exhibit U.
6                MR. GOODMAN: 9:30 p.m.
7                THE COURT: It's Exhibit U under Exhibit 1. Okay, go
8     ahead.
9                MR. GOODMAN: So what we have is Fort says: What
10    about Hukm? It's been established that that was Nate's
11    nickname.
12               And G.G., who is Alan Knox, says, "ah-ah, the
13    brothers from Medina, they demonstrated with Hukm."
14               THE COURT: Right.
15               MR. GOODMAN: We don't know what they demonstrated
16    about. And Mr. Fields has testified that he never got any
17    visit from any people from Milwaukee. We don't have any
18    visitors logs.
19               THE COURT: Do visitors logs exist and there is no
20    mention of this or is it that the visitors logs don't exist?
21               MR. GOODMAN: I don't know that we have ever seen
22    any.
23               MS. GORMAN: They don't exist.
24               MR. GOODMAN: They don't exist from the Cook County
25    Jail.
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1                So the second comment, right below that is --
2                THE COURT: Zoom, he said he had put him in tune with
3     the star situation.
4                MR. GOODMAN: Right. Zoom is Earl Hawkins. The star
5     situation is the money situation. So that does appear to
6     refer to the bribe. So we have Knox telling Fort that Zoom
7     said he put Hukm in tune with the star situation. That's
8     their evidence.
9                THE COURT: Correct.
10               MR. GOODMAN: It's corroborated by Hawkins' testimony
11    which was incredible because, as we mention in the motion,
12    we're talking --
13               THE COURT: Yes. There was a reference in the motion
14    to they wouldn't have been at the same place at the same time,
15    and I needed you to flesh that out a little bit.
16               MR. GOODMAN: So Hawkins testified that there were
17    two times that Fields was present during discussions. One
18    would have been in the bullpen. And his testimony was that --
19               He said that present for the conversation between
20    Hawkins and Swano in the bullpen outside the courtroom was
21    Nathson Fields and George Carter. Mr. Sexton then corrected
22    Fields -- then corrected Hawkins and said, well, but Carter's
23    case had been severed.
24               THE COURT: Where is Mr. Hawkins giving the testimony
25    that you are referring to?
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1                MR. GOODMAN: At the innocence hearing.
2                THE COURT: It was an evidence deposition, right,
3     that you took, or did he actually come into court and testify?
4                MR. GOODMAN: He actually came into court and
5     testified.
6                THE COURT: Okay, so he was there.
7                So what you're telling me now about Mr. Sexton is
8     during the hearing in front of Judge Biebel?
9                MR. GOODMAN: Yes.
10               THE COURT: Okay, go ahead.
11               MR. GOODMAN: Mr. Sexton corrects him and says, but
12    George Carter's case was severed, and had Hawkins then correct
13    his testimony to say, no, it was only Fields and Hawkins
14    standing with each other talking to Mr. Swano.
15               THE COURT: Okay.
16               MR. GOODMAN: So the testimony was not credible on
17    its face because I don't think lawyers, when they talk to
18    their clients in the bullpen, especially if they're talking
19    about a bribe, aren't going to be talking in earshot of the
20    codefendant.
21               THE COURT: I don't know that they wouldn't; I don't
22    know that they would. I mean, I suppose it's like most other
23    things in the law. The answer is it depends.
24               MR. GOODMAN: The second thing that Hawkins said to
25    corroborate this that he actually -- that Fields knew was that
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1     he said that when Swano came to visit Hawkins to have a
2     discussion about the bribe at the county jail prior to trial,
3     he called Nate down, too, and Nate participated in this
4     conversation.
5                Now, first of all, Nate was represented by his own
6     counsel, Smeeton.
7                THE COURT: Right.
8                MR. GOODMAN: So this would seem improbable, but,
9     secondly, they were in separate buildings. One was in
10    Division 1, one was in Division 6.
11               So as far as I know, it would have been physically
12    impossible for a lawyer to request a meeting with two clients
13    that are -- with two inmates that are in separate buildings at
14    the jail.
15               Moving on.
16               THE COURT: Okay.
17               MR. GOODMAN: Mr. Noland mentioned that there are
18    some wiretaps where Fort orders someone to pass a note to
19    Fields. I've never seen that.
20               THE COURT: Which one is that, Mr. Noland?
21               MR. NOLAND: June the 18th, 1996, 10:59 a.m.
22               THE COURT: Which tab?
23               MR. NOLAND: Exhibit S --
24               THE COURT: S.
25               MR. NOLAND: -- as in Sam, to Exhibit 1.
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1                THE COURT: Which page of this should we be looking
2     at? It's not very long.
3                MR. NOLAND: It's page 261. These are the ones they
4     used in the Maloney trial.
5                And they're talking about it being Hukm's visiting
6     day. Both are on Mondays. Fort says on the left side of the
7     page: That transcription, I want to get -- get through their
8     peep and show them a note and the signs of what a system we
9     draw in terms of the parry and the signs of the star, I mean,
10    in the signs of the robe --
11               THE COURT: So that sounds like he's telling him to
12    get him a note, not that a note was given. He tells him --
13               Which is what you told me actually. He tells --
14               So the interpretation is this is Mr. Fort telling
15    whoever he's talking to here, which is -- well, whoever it
16    is -- to get a note to Mr. Fields to tell him about the bribe,
17    okay.
18               Is there any later conversation where somebody in
19    code reports back to Mr. Fort they did that, that you're aware
20    of?
21               MR. NOLAND: The later conversation -- there is one
22    other conversation where Fort said, did you get him that note,
23    did you get him the note, talking about Hukm. And then there
24    is the conversation where --
25               THE COURT: That we talked about before.
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1                MR. NOLAND: No. I think that's a different one.
2                THE COURT: A different one.
3                MR. NOLAND: There's the two about the note, and
4     there is the last one where they say the brothers from Medina
5     put him in tune. And then also --
6                But then they say, but Hawkins had told him about the
7     bribe earlier. So he already knew about the bribe.
8                THE COURT: Okay, I see what you're saying.
9                Okay. Keep going then, Mr. Goodman, now that you
10    know what he's talking about.
11               MR. GOODMAN: This one, Judge, I don't know that I
12    read it that he's ordering them to visit both Hawkins and
13    Fields. I don't read it that way, this transcript.
14               He's informing him that the visiting days are both on
15    Monday, and he says: You all get a chance, I want to get
16    through there and peep and show them a note.
17               I suppose "them" could be both of them. It could be
18    interpreted that way.
19               THE COURT: Yes.
20               MR. GOODMAN: Next, Fields, being a high-ranking
21    member, the testimony, even from the cooperating witnesses,
22    was that Nate was not a general in the El Rukns at the time.
23               THE COURT: Does a general in the El Rukns mean kind
24    of what it does in the general in the Army? I mean, there's
25    not that many of them, in other words, and they boss a lot of
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1     other people around?
2                MR. NOLAND: They are the leaders.
3                THE COURT: Yes.
4                MR. NOLAND: And there is evidence, at least from two
5     or three people that have testified in this case, that he was
6     a general.
7                THE COURT: Okay, and I gather from others that he
8     wasn't.
9                MR. GOODMAN: Others that he wasn't.
10               The letter, if I may move on to the letter to Swano?
11               THE COURT: Yes.
12               MR. GOODMAN: In, I believe January of 1990 --
13               Candace is showing me the letter.
14               THE COURT: I've got to tell you that it doesn't
15    strike me that a conversation that would --
16               The trial was in '86?
17               MR. GOODMAN: '86, yes.
18               THE COURT: It doesn't strike me that a conversation
19    four years after the fact where Mr. Fields says that Swano
20    mentioned the bribe to him really contributes at all to the
21    question of whether these particular statements made four
22    years earlier were part of -- were in furtherance of a
23    conspiracy that Mr. Fields was then a part of. So I don't
24    think you need to spend much time on that. I think it's
25    really about the other stuff.
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1                MR. GOODMAN: And Fields' testimony was not that
2     Swano mentioned the bribe to him. I think what Swano said to
3     Fields was, you didn't see me bribe anyone. He said, you
4     didn't see anything unusual, or something like that. He got
5     some statement from Fields that he thought he could use. That
6     was my impression of that.
7                And Fields' testimony was that it passed right over
8     him. He didn't know what he was talking about. And I think
9     the greatest -- the strongest evidence, Judge, that Fields
10    didn't know is the postconviction petitions because he filed
11    the original postconviction petition, was it '91? He raised
12    many, many claims about the fairness of the trial, nothing
13    about a corrupt judge.
14               THE COURT: So '91 after he has the conversation with
15    Fields.
16               MR. GOODMAN: Yes.
17               THE COURT: When did Judge Maloney get indicted? I
18    don't remember.
19               MR. NOLAND: June of 1991.
20               THE COURT: Did the PC get filed before or after?
21               MR. GOODMAN: Before.
22               THE COURT: So the theory that I thought I heard Mr.
23    Noland expressing before was that until it's out in the open
24    that there was a bribe, Mr. Fields would not have talked about
25    it because that would have proved he knew about it. That's
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1     the theory. I mean, I'm not sure that that can proven, but, I
2     mean, that's at least a theory as to why the fact that it
3     wasn't in the PC petition doesn't really mean much.
4                MR. GOODMAN: That's a theory. I mean, he was on
5     Death Row.
6                THE COURT: So I think this is really all about these
7     conversations that are on tape, and it seems to kind of all
8     funnel back to Mr. Hawkins. Okay.
9                MR. GOODMAN: Judge, may I say one other thing?
10               THE COURT: Go ahead.
11               MR. GOODMAN: It comes back to the tapes, these
12    hearsay statements that Hawkins put him in touch. Now, even
13    if there were a credible evidence that somebody told him about
14    it, that would not necessarily make him part of a conspiracy.
15    The fact that he knew, which we suggest that it's clear that
16    he didn't know, because if he had known, he certainly would
17    have told his attorney Stainthorp, who became appointed to do
18    his PC in '91, and he didn't because it doesn't show up in his
19    first PC. And as soon as Maloney gets indicted, he and
20    Stainthorp talked about it, and they do an amended PC and talk
21    about this new information that's come to light.
22               And I would say that the appellate courts, Illinois
23    appellate courts, in final judgments have looked at this and
24    did say that there was no evidence that Nate participated.
25               THE COURT: Which appellate court decision are you
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1     referring to?
2                MR. GOODMAN: The interlocutory appeal prior to
3     Nate's final -- prior to Nate's retrial. This is People v.
4     Earl Hawkins and Fields, 326 Ill. App. 3d at 992. And PLA was
5     denied, rehearing denied.
6                THE COURT: And there is someplace in there where
7     you're saying that there's something favorable to Mr. Fields
8     on the question of whether he was aware of the bribe --
9                MR. GOODMAN: Yes.
10               THE COURT: -- scheme? Just give me a page
11    reference.
12               MR. GOODMAN: They say the evidence with respect to
13    Fields' involvement in the bribe is tenuous at best, and then
14    they make a ruling. And this is on page -- well, page 999.
15               THE COURT: 999.
16               MR. GOODMAN: And then they make a ruling.
17               "Accordingly, we find because of the evidence of
18    Fields' participation in the bribe is weak, it is insufficient
19    to outweigh the extreme prejudicial effect."
20               THE COURT: Oh, so they're probably dealing with some
21    version of a waiver or forfeiture defense or forfeiture
22    argument. In other words, if he was involved in the bribe, he
23    can't use the bribe to vacate his conviction. That's probably
24    what --
25               MR. GOODMAN: No, no, no. This was whether it could
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1     be used at his retrial.
2                THE COURT: Oh.
3                MR. GOODMAN: The prosecution wanted to use the bribe
4     as evidence at his retrial.
5                THE COURT: And the appellate court says they can't
6     or the appellate court says that certain findings have to be
7     made or what happens?
8                MR. GOODMAN: They cannot.
9                THE COURT: Did it come in at the retrial?
10               MR. GOODMAN: It does not come in at the retrial.
11    They said there was insufficient evidence.
12               Now, I don't know that the issue of coconspirator
13    hearsay came up. That was not the issue. The issue was
14    whether it was sufficiently probative to demonstrate
15    consciousness of guilt.
16               THE COURT: So do we know what all --
17               And, again, I mean, I don't know that that is binding
18    on anybody here on the other side of the "v," but do we know
19    what was presented to the Court, you know, that was in the
20    record on appeal that it was considering? Do we know whether
21    the transcripts were in there, whether Mr. Hawkins' testimony
22    was part of it or any of that?
23               MR. GOODMAN: Well, they looked at the testimony from
24    the Maloney trial. So they looked -- I believe Hawkins
25    testified at the Maloney trial. I believe Swano testified.
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1                THE COURT: There wouldn't necessarily have been a
2     reason to ask him at the Maloney trial whether Fields knew
3     about it. I mean, that is sort of a side issue.
4                Do you know, Mr. Noland?
5                MR. NOLAND: Yes, I do.
6                THE COURT: Go ahead and tell me.
7                MR. NOLAND: This information in these wiretaps I do
8     not believe were presented to the appellate court. Hawkins'
9     testimony that Fields knew was not presented to the appellate
10    court.
11               What happened is that at the first interlocutory
12    appeal after he got a new trial in 1998, Judge Gaughan barred
13    it. It went to the appellate court. The appellate court said
14    it can come in as to Hawkins, it can't come in as to Fields.
15               THE COURT: You haven't shown me enough.
16               MR. NOLAND: You haven't given me enough.
17               They went back down. The State said: Wait a minute,
18    Judge. They went to Gaughan, Judge Gaughan. We have got a
19    ton. We have everything I'm telling your Honor about now.
20               Judge Gaughan said: You waived that. You're too
21    late now, guys. You should have said it before.
22               THE COURT: Okay. That strikes me as a --
23               I mean, even if I were to put no weight on what you
24    just said, that strikes me as a relatively logical description
25    of what likely would have happened in that situation. They
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1     wouldn't have necessarily presented all the wiretaps and
2     whatnot on the first go-round.
3                Well, this is a bit of a toughie, folks. There's a
4     lot of tough -- there are a lot of tough issues in this case,
5     a lot of really tough issues. And that's not a criticism.
6     It's a complicated matter and a lot of tough issues. I'm
7     going to have to think about it is the short answer.
8                So I've got to make --
9                And so part of what is tough about it is that I have
10    to make a finding, as I said, by a preponderance of the
11    evidence that there was a conspiracy. That part I think I can
12    probably find. It's really, number two, whether Mr. Fields
13    was a member of the conspiracy; and then number three is
14    whether the statements were in furtherance of it.
15               And I think three probably isn't all that hard
16    because I suspect -- and I know that there is an objection
17    made to, you know, whether people should be able to interpret
18    these tapes, but I think -- you know, although you would have
19    to lay the foundation at trial, I think that foundation can be
20    laid. There may be an argument that they're not to be
21    believed. There may be an argument that you're not to give it
22    any weight, but that's not a basis to exclude it. So this
23    really all boils down to whether I am persuaded by a
24    preponderance of the evidence of Mr. Fields' involvement in
25    the conspiracy. And that really, I think to a very
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1     significant extent, boils down to the believability of
2     Mr. Hawkins on this point. And, of course, I have not heard
3     Mr. Hawkins. So that's why it's difficult.
4                Does somebody -- can somebody give me in extremely
5     short order the testimony --
6                Do you have the transcript of the testimony of
7     Hawkins from the proceeding in front of Judge Biebel? Can
8     somebody get to that me?
9                MR. GOODMAN: I probably attached it.
10               THE COURT: Maybe you did. I don't know. I mean, I
11    was -- I tend to look at all of this stuff electronically. So
12    if it's an exhibit over here already --
13               Let's see.
14               MR. GOODMAN: I thought that went in that footnote.
15               MR. NOLAND: Judge, if I could ask if we could send
16    over relevant pages that we would be relying on?
17               THE COURT: You know, I have a feeling that what I've
18    got is excerpts. I want the entirety of his testimony. And
19    so what I'd like you to do --
20               So the quickest way to get it to me is to email it to
21    me. And so email me a PDF of it.
22               Actually, while I'm thinking of it, is anybody
23    ordering the transcript of this?
24               The blank looks tell me no. Okay, not yet at least.
25    Okay. That informs me as to how careful my notes have to be.
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1     All right.
2                MR. GOODMAN: Your Honor, can I just address one last
3     issue on that?
4                THE COURT: Yes.
5                MS. GORMAN: When Mr. Hawkins started to cooperate,
6     which was early 1987, when he wrote a letter to Mr. Brannigan
7     and Mr. Brannigan came to visit him --
8                THE COURT: Yes.
9                MS. GORMAN: -- the first thing -- one of the very
10    first things Mr. Hawkins talked about was the bribe to Judge
11    Maloney. And I think that is significant because he knew that
12    was the ticket or thought it might be his ticket off of Death
13    Row. And the fact that Mr. Fields knew nothing about this and
14    never raised it with anybody until it became public I think is
15    also very probative. He didn't want to die.
16               THE COURT: Maybe he's not as smart as Mr. Hawkins.
17               MS. GORMAN: Maybe, but he didn't want to die.
18               THE COURT: I mean, I'm just saying. There's more
19    than one explanation for not telling somebody something.
20               MR. NOLAND: Judge, I think it would be relevant, if
21    I can tender to your Honor Defendants' Exhibit 113. It's FBI
22    Agent Marie Dyson's 302 report of her interview with Hawkins,
23    back in 1987 where she says Hawkins told her right then and
24    there that Fields knew.
25               THE COURT: Okay. I mean, I will look at that, but
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1     what I really want to see is --
2                Because I assume he was cross-examined during the
3     hearing in front of Judge Biebel, right?
4                MS. GORMAN: We have his deposition, too. I don't
5     know if you want that.
6                THE COURT: Give me the deposition, too. I'm
7     assuming you have got an electronic copy.
8                MS. GORMAN: Yes. I've got them on my computer here.
9                THE COURT: Okay. So I think the better thing to do,
10    Mr. Noland, is rather than handing that to me now, just attach
11    that to your email. If you have got a PDF of that, the thing
12    that you were about to give me, the 302, attach that to the
13    email, too. Okay.
14               And I know that's a gigantic issue. I know that's a
15    gigantic issue, but we're going to have to move on because I'm
16    going to have to read this stuff in order to decide it. So
17    let me just make a note. So I'm going to get Hawkins'
18    testimony, Hawkins' deposition and a 302 regarding the Hawkins
19    interview.
20               MR. GOODMAN: Before we move on, may I make one more
21    comment?
22               THE COURT: Yes, just so you realize that we have
23    used up 40 of our minutes talking about the first motion in
24    limine.
25               MR. GOODMAN: I just want to point out that even if
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1     the Court gets past the coconspirator issue, there is still an
2     issue of relevance, as we set forth.
3                THE COURT: Yes. I have to say I did not find the
4     plaintiff's argument on that particularly persuasive. I mean,
5     it's relevant for a whole bunch of purposes, I mean, most of
6     which I think is either discussed or inferable from the
7     decision on the summary judgment motion. And, you know, there
8     may be other bases on which it's relevant, but, I mean, I
9     think -- I think the question --
10               I mean, if one assumes, or if one assumes that Mr.
11    Fields was aware of the bribe --
12               I want to choose my words carefully here, so give me
13    a second.
14         (Brief interruption.)
15               THE COURT: Well, no. The underlying question is the
16    admissibility of the bribe. So if one assumes that the bribe
17    was to acquit both people, I think it pretty clearly has a
18    bearing on the question of materiality of what is referred to
19    as the Brady material. And it may be relevant to other
20    things, but it only needs to be one thing. And so I don't --
21               There is not a relevance issue here. And as I said,
22    I think that --
23               Although, as I say, you would have to lay the
24    foundation at trial, I think that a foundation can be laid for
25    somebody to translate coded lingo. I mean, they would have to
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1     say why -- you would have to explain why they are qualified
2     and you would have to elicit that. You would have to elicit
3     that it is coded, and you would have to elicit whatever the
4     code is. But that's a relatively routine thing in criminal
5     cases, as it was presumably done in the trials of Hawkins and
6     others in this thing.
7                MR. GOODMAN: And I know we need to move on, but if
8     it comes in, then there's additional wiretaps which show very
9     clearly that Fort's intention was to pass the bribe on the
10    Vaughn-White case, and he's -- it's very clear that he thought
11    that was the strong case. He didn't think this case meant
12    anything because that was a year later, the eye witnesses.
13    And then --
14               THE COURT: Well, a bribe's a bribe, and it's given
15    right before the trial of the --
16               MR. GOODMAN: I understand.
17               THE COURT: -- other one.
18               MR. GOODMAN: But he's then an informant. He's
19    informed by Swano that, in fact, Swano had passed it on the
20    other case, and there's a discussion about getting the bribe
21    money back. And then Swano says, no, trust me. That's the
22    important case.
23               THE COURT: Those strike me as all weight issues, not
24    admissibility issues.
25               MR. NOLAND: Judge, I would make one additional
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1     argument that --
2                THE COURT: What I really should have put time limits
3     on was the arguments on the motions in limine, not the trial.
4                MR. NOLAND: This will be a one-sentence, which is
5     that obviously we feel strongly that Mr. Fields knew about
6     this and this shows he's involved in the conspiracy.
7                However, an alternative argument would be that the
8     plaintiff contends this trial was unfair because of the
9     police. These wiretaps would be additional evidence that the
10    trial was corrupted by the El Rukns and Bill Swano and Judge
11    Maloney regardless.
12               THE COURT: I completely get that. And I have agreed
13    with you on the relevance issue. I am not necessarily
14    adopting what you just said, but relevance is not an exception
15    to the hearsay rule, nor is we feel really strongly about it,
16    okay. If it was, there wouldn't be any hearsay rule.
17               So we're moving on to item number 2, which is Burge.
18    You got two sentences to convince me that Mr. Burge and his
19    misconduct has something to do with this case because I'm not
20    seeing it in the response to the motion.
21               MS. GORMAN: Your Honor, the only relevance with
22    Mr. Burge would be the fact that he was part of the task
23    force. If all of this information --
24               THE COURT: I understand, but what you want to put
25    in -- presumably what you're wanting to put in is you want to
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1     trot his name in front of the jury, hoping that some of them
2     will know what it is. And just to cover the possibility that
3     they don't, you want to put in that he tortured people, okay.
4                So what does that have to do with this case? Is
5     there any allegation that Mr. Fields was tortured by Burge?
6                MS. GORMAN: No, your Honor, but what I'm saying is
7     this goes to the task force itself and how they were trying
8     to --
9                THE COURT: That they were really bad guys?
10               MS. GORMAN: Yes.
11               THE COURT: And this from the people who are telling
12    me to exclude all of the El Rukn evidence on the ground --
13    which they want to put in to show that Mr. Fields is a really
14    bad guy.
15               MS. GORMAN: And I said, you know --
16               THE COURT: Maybe I should just let everything in.
17               MS. GORMAN: I said if they don't get to bring in all
18    the El Rukn stuff, we don't need the task force stuff, but if
19    they get to bring all that in --
20               THE COURT: I just think that the links in the chain
21    between Burge and other people who were on the task force and
22    this case are really two attenuated. So motion number 2 is
23    granted.
24
25
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1                THE COURT: Number 3 is the 1988 lawsuit by
2     Mr. Fields, that was the pro se lawsuit, and the documents
3     request in Houston versus Partee. So I have a question for
4     the defense on this. Were the defendants in this case, in my
5     case, were any of them served with the complaint and summons
6     in the '88 case?
7                MR. NOLAND: I believe so.
8                THE COURT: And so if this is offered, as I'm
9     understanding it here, among other things, to show that they
10    were on notice of, you know, the withholding of evidence, then
11    why isn't -- if they were served with the thing, why isn't
12    that enough and everything else is just a matter of weight?
13               MR. NOLAND: There's no predicate that they would
14    have known that anything was being withheld, so if Mr. Fields
15    says he didn't get something, that wouldn't mean anything to
16    them just by virtue of him saying it. This wasn't their file.
17               THE COURT: And you've also made an argument at
18    various points in time that Mr. Fields kind of sat on all of
19    this stuff until, you know, the coast was clear, so to speak.
20    Why wouldn't the '88 lawsuit be relevant, as the plaintiff
21    argues, to show that, you know, he was diligent in trying to
22    obtain these things?
23               MR. NOLAND: That argument relates to sat on the
24    bribe. We have not made an argument that he was -- did not
25    use due diligence in trying to seek relevant discovery
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1     documents in his criminal process.
2                THE COURT: And the plaintiff has told me that you're
3     not intending to use the document request from the Houston
4     versus Partee, so it's just about the lawsuit.
5                All right. Let me just look at one thing here.
6                I'm denying that. I think it's relevant to show
7     notice, as the plaintiff argues, notice that he was alleging
8     that materials had been withheld from him.
9                And, you know, I'm absolutely willing to entertain an
10    appropriate limiting instruction regarding the purpose for
11    which it can be offered. I'm also willing to entertain the
12    option of, you know, some sort of a stipulation. And, I mean,
13    you wouldn't be giving up your relevance objection. A
14    stipulation that, you know, in 1988 Mr. Fields filed a lawsuit
15    which was served on the defendants that alleged the following
16    so that we don't have to put the whole lawsuit in or the
17    complaint in. So I'm willing to entertain those things, but
18    that motion is denied. So let me just make a note of that.
19               So I'm just going to leave it to you all to get back
20    to me on that, so for now it comes in unless you come up with
21    some other alternative.
22               Number 4 has to do with the CR that was generated in
23    response to the lawsuit, CR being Chicago Police Department
24    lingo for complaint register, which in turn is lingo for a
25    file that's created when somebody makes a complaint about a
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1     police officer. So give me just a second here.
2                So what exactly is it, if the plaintiff's attorneys
3     can tell me, what exactly is it that you want to put in about
4     this? Do you want to put in the whole file? Is it something
5     about the file? What is it exactly?
6                MS. GORMAN: Yeah, we want to put in the whole file,
7     and there's two reasons, your Honor. One is that there's no
8     longer a court file.
9                THE COURT: No longer a court file for the 1988 case.
10               MS. GORMAN: Correct.
11               THE COURT: And the complaint's in the file?
12               MS. GORMAN: Complaint's in the file.
13               THE COURT: Okay.
14               MS. GORMAN: But also, your Honor, I think it goes to
15    the Monell claim because the City contends that they did an
16    investigation.
17               THE COURT: Then.
18               MS. GORMAN: Then.
19               THE COURT: And so this is part of the story about
20    where the file was and what not.
21               MS. GORMAN: Correct.
22               THE COURT: And I made a note when -- on page 7 of
23    your motion to ask the defendants' attorneys why isn't this
24    relevant on the Monell claim, so why don't you address that,
25    Mr. Noland.
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1                MR. NOLAND: Because we've acknowledged that -- or we
2     are acknowledging that the file wasn't produced to Mr. Fields,
3     and the Monell claim would be whether or not the City --
4     there's a practice, a widespread practice and that the City
5     was deliberately indifferent in not following the policy that
6     was implemented in February 1983, which is Detective Division
7     Special Order 83-1. And so the fact that the file wasn't
8     produced in this case, you know, that's not going to be an
9     issue and so --
10               THE COURT: Yeah. I think those are arguments that
11    go to weight, not admissibility, so I'm going to deny motion
12    in limine number 4.
13               Number 5. Okay. So this is judicial notice, and --
14               MS. GORMAN: No. That's number 6.
15               THE COURT: Oh, that's right. Number 5 is -- oh,
16    this is the thing about whether there is or isn't a malicious
17    prosecution claim based on the Vaughn-White murders. And the
18    response that the plaintiff makes to that is we aren't making
19    one.
20               MS. GORMAN: Well, it's part of the malicious
21    prosecution, and it's in the complaint.
22               THE COURT: Oh, okay. So it's not that you're not
23    arguing. It's the defendants have been on notice of it.
24               MS. GORMAN: Correct.
25               THE COURT: What about that?
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1                MS. GORMAN: And I put in the paragraphs from the
2     amended complaint.
3                MR. NOLAND: We're on notice that it is part of
4     allegations that there was a malicious prosecution of
5     Smith-Hickman. However, we're not on notice, there is no --
6     there can be no claim for the Vaughn-White. The charges were
7     dropped.
8                THE COURT: Let me ask you this question: You guys
9     know how the case is going to get tried. I don't. Okay. So
10    I can imagine somebody saying, ladies and gentlemen,
11    Smith-Hickman doesn't make a bit of difference because even if
12    there had never been a Smith-Hickman charge, there was
13    Vaughn-White. He was guilty as sin of that. He would have
14    gone to the same place. Is anything like that going to be
15    hinted, argued, winked or nodded?
16               MR. NOLAND: No. The Vaughn-White charges were
17    nolle'd in 1986 and then --
18               THE COURT: So right after the conviction on the
19    other one.
20               MR. NOLAND: Right. They used it in aggravation.
21    The State used it in aggravation.
22               THE COURT: They used it in aggravation.
23               MR. NOLAND: Yeah. And then they nolle'd it.
24               THE COURT: So there's not -- I take it there's not,
25    though, a separate claim for malicious prosecution on
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1     Vaughn-White, or is there?
2                MS. GORMAN: No, there's not. It's all part of the
3     same claim.
4                THE COURT: I guess maybe where I was and when I read
5     both sides' stuff on this is, like, I'm not sure what the
6     dispute is exactly, so maybe since it's your motion you can
7     enlighten me.
8                MR. NOLAND: Thank you, your Honor.
9                THE COURT: Or whoever. I don't care who it is.
10               MR. MICHALIK: Your Honor, frankly, we didn't think
11    that there was that claim, but in looking at the proposed
12    pretrial order that was sent to us, in the statement of the
13    case it appeared that they were in fact making a malicious
14    prosecution claim based on Vaughn-White. That's why we filed
15    the motion.
16               THE COURT: You're not proposing on the plaintiff's
17    side to when I instruct the jury on the claims that there's
18    going be a claim that says he was maliciously prosecuted for
19    the Vaughn-White murders and you should find in favor of the
20    plaintiff and against the defendants and award him damages for
21    that?
22               MS. GORMAN: Just like we wouldn't do the same for
23    Hickman-Smith. It's all part of the --
24               THE COURT: It's going to be malicious prosecution,
25    period.
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1                MS. GORMAN: Correct, your Honor.
2                And, no, your Honor. That's been part of the claim
3     all along. He was arrested on both claims. He was charged on
4     both claims. It went before the grand jury on both double
5     murders.
6                THE COURT: What else would you like to tell me about
7     this on the defense side?
8                MR. NOLAND: Your Honor, I would say that the
9     evidence would be whether on malicious prosecution was there
10    probable cause to support the Smith and Hickman prosecution
11    and that they're -- we're seeking to bar them from arguing
12    that if there was no probable cause for the Vaughn-White case
13    that they have a malicious prosecution claim.
14               And the other elements of malicious prosecution
15    relative to that claim, if they were going to bring that --
16               THE COURT: Yeah, so I think, honestly I think that
17    that is going to all sort out in the wash as the case is tried
18    and it's really a question of what the final instructions
19    should say. And there's not going to be anything, at least
20    I'll tell you that there's not going to be anything that
21    specific in the preliminary instructions, which I will read to
22    the jury but they won't have a copy of, at the beginning of
23    the case.
24               And so, you know, the motion asks to bar a claim.
25    There isn't a separate claim. I'm denying the motion. We
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1     still have the issue of the extent to and how -- the extent to
2     which and how it can be argued, and that I think is
3     appropriately taken up later.
4                So pause. I just got to make a note on that.
5                MS. GORMAN: Thank you.
6                THE COURT: Next is the judicial notice thing. So I
7     have to say that I think at least a good deal of what's
8     offered in the defendants' motion that I should take judicial
9     notice of really blurs the distinction that exists in the law
10    between issue preclusion and judicial notice.
11               I mean, among other things, and let me just get back
12    to your motion here. You've given me this list of things. I
13    mean, I don't think there's any dispute and I think I could
14    take judicial notice that Judge Maloney presided over the
15    trials. I don't think there's any dispute and I think I could
16    take notice that Mr. Swano represented Mr. Hawkins. Then you
17    ask me to take judicial notice that Judge Maloney accepted a
18    bribe to acquit Fields and Hawkins, which is a disputed fact.
19    It's not an adjudicative fact because there hasn't -- you
20    know, it's not the kind of thing that people take judicial
21    notice of.
22               And to the extent that you're relying on findings
23    that have been made in other cases, I mean, that's really
24    about collateral estoppel. It's not judicial notice.
25               You're essentially asking me to look at the jury and
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1     say, ladies and gentlemen, I instruct you that the bribe was
2     to acquit both of them, when in fact that's a disputed fact.
3     I can't take judicial notice of that. I mean, it's just a
4     nice way of saying, Judge, this is the dry run for the real
5     trial that you'll be doing in two years when it gets remanded.
6                And I think the same is true of -- I mean, the
7     farther the list goes along, or at least in some places, we're
8     talking about sort of very sort of particularized facts.
9     Number four: Judge Maloney became concerned that he was the
10    subject of a federal investigation and returned the bribe
11    money; thereafter that he found Fields and Hawkins guilty.
12    Well, the second part of that of course I can take judicial
13    notice. Judge Maloney found Fields and Hawkins guilty of the
14    charged offenses. The first part of it I couldn't possibly
15    because it's a theory. I mean, Judge Maloney never testified
16    to that. It's been essentially the theory, and adopted by
17    many Courts, I grant you, and maybe even I would buy into it
18    as a theory, but, you know, attaching a theory to what
19    happened, to explain what happened isn't something that a
20    judge can take judicial notice of. So the first sentence of
21    four I couldn't possibly do.
22               Number 5, I can absolutely take judicial notice,
23    assuming that, you know, we get past the admissibility issues
24    on the bribe stuff generally. All right. I can absolutely
25    take judicial notice that Swano and Maloney were indicted. I
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1     assume that it's not disputed that part of the basis for the
2     charges against them was a claim of bribery in connection with
3     the case. That's not disputed, right? Just look at an
4     indictment, that tells you that, right?
5                MR. GOODMAN: That's correct.
6                THE COURT: So then we get to number 6.
7                MR. GOODMAN: I think our objection to that just had
8     to do with the second sentence.
9                THE COURT: The attribution of it to --
10               MR. GOODMAN: There were other charges. Part of
11    the --
12               THE COURT: Well, so let me ask you this: And I know
13    that there was some discussion about this. Was there a
14    separate count in the Maloney case that related to the bribe,
15    or was it a racketeering act in the racketeering count?
16               MR. GOODMAN: I know there were four bribes in the
17    trial. That's all I remember.
18               THE COURT: I know, but we're talking about what was
19    found in the case, and so was there a separate -- I'm willing
20    to bet that there was not a count, because I don't -- as
21    opposed to a separate racketeering act, because I don't think
22    bribery of a state judge likely would even be by itself a
23    federal crime. Now, it gets incorporated into RICO as one of
24    the types of racketeering acts that can be charged, so I'm
25    assuming that there's a racketeering act for it.
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1                MR. GOODMAN: I'm assuming that it was an overt act.
2                THE COURT: Well, no, I'm talking about even more
3     than an overt act. I'm assuming that on the RICO count
4     there's a list of these are the acts of racketeering, bribery
5     is one of them.
6                Does anybody have the Maloney indictment? Okay. So
7     let's just skip over that. Let's get to the really the core
8     of it.
9                Was there a special verdict where the jury had to go
10    through and find racketeering acts?
11               MR. NOLAND: I don't believe so.
12               THE COURT: So here's the problem. And that is
13    logical to me because until fairly recently, actually, the
14    government in criminal cases has tended to take the position
15    that there shouldn't be special verdicts. And there's all
16    sorts of criminal law reasons for that or criminal procedure
17    reasons for that. And so I'm guessing that back, you know, at
18    the era we're talking about there would not have been a
19    special verdict form, which creates a problem, is that how do
20    I know that they were found guilty on something relating to
21    that? The answer is I think I don't. If there was a finding,
22    in other words, if the jury returns a verdict form where
23    they're asked racketeering act let's say 47, bribery of
24    Maloney for the murder trial, and the jury checks yes, we
25    found that beyond a reasonable doubt, then I could probably
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1     take judicial notice that a jury found that beyond a
2     reasonable doubt that that racketeering act had been
3     committed. Otherwise I'm not sure I could.
4                MR. NOLAND: I think I have something to add to this
5     discussion. US v Maloney, 71 F3d at --
6                THE COURT: You're talking about an appellate
7     opinion, keep in mind.
8                MR. NOLAND: Judge, I can't be sure what --
9                THE COURT: I thought I was told in the response that
10    there was no special verdict.
11               MR. GOODMAN: What I said is upon information and
12    belief.
13               THE COURT: Oh, okay. You said information and
14    belief.
15               MR. GOODMAN: The Maloney jury made no special
16    findings of fact.
17               THE COURT: I now know that Ms. Gorman has wireless
18    here because she's already emailed me the deposition.
19               MR. NOLAND: I don't know if this is from Maloney. I
20    don't know where this is from, where I'm reading from. It's
21    Exhibit 8 at 6, and I'm trying to figure out what our Exhibit
22    8 --
23               THE COURT: Ms. Gorman, you need to resend that email
24    and copy defense counsel on it. You just sent it to me.
25               MS. GORMAN: Okay.
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1                MR. GOODMAN: I think Exhibit 8 is Judge Dooling?
2     It's a state court opinion, I believe, which refers to the
3     Maloney opinion.
4                MR. NOLAND: And Judge Dooling -- Judge Dooling said
5     the jury specifically found that Maloney had engaged in acts
6     of racketeering and had conspired to commit extortion when he
7     accepted and later returned a $10,000 bribe in the trial of --
8                THE COURT: Okay. So maybe --
9                MR. NOLAND: -- Earl Hawkins and Nathson Fields.
10               THE COURT: Maybe there's a conspiracy to extort
11    count that specifically relayed this. You guys are going to
12    need to show me more. As I sit here, I don't know that
13    there's something that's concrete enough that I can take
14    judicial notice of, so here's what I think I need from you.
15    What I think I need from you is really three things. Number
16    one would be the version of the indictment on which the trial
17    was held. Number two would be the jury instructions. And
18    number three would be the verdict form. And then I can figure
19    that out.
20               Okay. So let's just kind of move along here. Number
21    7: November -- or September 8, 1992, Mr. Fields filed his
22    First Amendment petition for post-conviction in which he
23    alleged as a result of the bribe he was denied his right to
24    trial. So, I mean, of course I could take judicial notice of
25    that, but why do you need me to? You're going to ask somebody
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1     that question, right?
2                MR. NOLAND: Fair enough, Judge.
3                THE COURT: You're going to ask him.
4                MR. NOLAND: Yes.
5                THE COURT: So I don't really think you need it.
6                Conviction was overturned in 1997. So, I mean, I
7     certainly -- what's your position on number 8, Mr. Goodman?
8                MR. GOODMAN: The fact that Judge Dooling granted
9     plaintiff's post-conviction petition is undisputed. However,
10    the reason why Fields was granted post-conviction relief is
11    not a proper subject for judicial notice.
12               THE COURT: Is there more to it than what's stated
13    here?
14               MR. GOODMAN: It's a lengthy opinion.
15               THE COURT: Yeah, right. No, I mean, somebody's
16    citing page 22, so I can tell it's pretty long.
17               MR. GOODMAN: It says that she did it because. I
18    don't know that this Court could take judicial notice as to
19    why she did it. I think you could take judicial notice about
20    some language from the opinion.
21               THE COURT: Let me ask you this question, Mr. Noland:
22    So is there some witness that you're planning to call -- if
23    you don't get judicial notice on this, how would you put it
24    in? Who would you put it in through?
25               MR. NOLAND: Possibly through the plaintiff.
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1                THE COURT: Okay.
2                MR. NOLAND: Possibly through state's attorneys.
3                THE COURT: Mr. Sexton maybe, somebody like that.
4     Although that, you know, I mean, that actually maybe gets a
5     little trickier than even doing it through some sort of a --
6                I know it is an extremely contested case. I know
7     that. And I know that there's, you know, a lot of baggage all
8     over the place here. I guess what I'd -- you know, in the old
9     days we used to make people go through and try to stipulate to
10    facts that aren't contested. I'd like you to make an effort
11    to see if you can come up with -- and it's going to
12    necessarily be relatively plain vanilla, but to see if you can
13    come up with sort of a sort of pithy, short, to the point
14    stipulation of kind of the procedural history of Mr. Fields'
15    state court case.
16               I can certainly understand if somebody doesn't want
17    me to summarize in a sentence or two the basis for a 30 plus
18    page ruling that was then reviewed on appeal and resulted in
19    another 30 plus page ruling, but I'd like you to see if you
20    can come up with a stipulation, and then I'll at least know
21    what's in dispute and I can deal with it.
22               MR. GOODMAN: I don't think that will be a problem,
23    Judge.
24               THE COURT: I think you ought to be able to do that.
25               Okay. So let me just make a note.
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1                Motion in limine 7, which is Mr. Reiter, R-e-i-t-e-r.
2     So and I know that there is some overlap here between this and
3     a motion that's made by the plaintiff with regard to
4     essentially a corresponding expert, Allee or Albee or
5     something like that, on the defense side.
6                So I want to make sure that I'm understanding exactly
7     what Mr. Reiter is going to say. I don't think I got his
8     opinion. I think I've got some of the other ones. I think
9     I've got Allee and I've got the other guy.
10               MR. MICHALIK: McMahon.
11               THE COURT: McMahon. I was going to say McLaughlin.
12    McMahon. I don't think I have Reiter's.
13               MS. GORMAN: I believe we attached it as Exhibit F.
14               THE COURT: F. Indeed you did. Okay. That means I
15    looked at it at some point.
16               So what's being zeroed in on here is the
17    characterization of the file as exculpatory. And the way I
18    understood the response to the motion is that, well, when
19    Mr. Reiter says exculpatory, he doesn't really mean
20    exculpatory. He means that pretty much anything ought to get
21    turned over to the prosecutors.
22               MS. GORMAN: That's correct, your Honor.
23               THE COURT: But he says in his opinion there are
24    numerous examples of what's exculpatory evidence. I don't see
25    in the opinion anything that sort of defines that as -- he may
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1     have done it in his deposition.
2                MS. GORMAN: That's where it is, your Honor. And his
3     deposition is Exhibit E.
4                THE COURT: Exhibit E. Oh, it's an excerpt, okay.
5                So let me just talk to you a little bit generally
6     about the police practices opinion testimony on both sides.
7     Okay. I acknowledge that there are problems with people
8     putting conclusions on things that maybe have slightly
9     different meanings in different contexts and that overlap to
10    some extent with things that the jury will be called upon to
11    decide. And I acknowledge, of course, that the rules allow
12    ultimate issue opinions. But that's also subject to Rule 403
13    balancing.
14               So, you know, you've got an expert on the plaintiff's
15    side saying stuff's exculpatory. I've got an expert on the
16    defendants' side saying it's not exculpatory or it's not
17    material or both. And I guess I have a problem with all of
18    those opinions worded in that way. And I have a problem with
19    at least some of them worded in any way. But I think as far
20    as exculpatory and not exculpatory, you know, you have a
21    little bit different -- the jury is going to be given a
22    definition of what exculpatory means. Okay. That's not
23    really, I don't think, the question that the police practices
24    experts on either side are actually opining on. I think what
25    they're opining on, or at least can appropriately opine on, is
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1     what a police officer, whether it's a reasonable police
2     officer or whatever, what a police officer would view as maybe
3     we call it potentially exculpatory in the sense of it ought to
4     be turned over, it ought to be made available to the
5     prosecutors in the case. Okay. And I think, because that's a
6     subject on which a jury is not going to have a clue, how
7     police officers are supposed to deal with prosecutors when it
8     comes to evidence, I think that's a subject on which there can
9     be proper opinion testimony on both sides. And to me it's
10    really more of a question of how it's expressed and how it's
11    worded.
12               Now, materiality I think is a different story because
13    I would be surprised if you had an expert that would say,
14    okay, I got this thing here where this witness was shown a
15    picture of the guy we've charged and said it wasn't him, he
16    wasn't the shooter, and the police officer -- and a police
17    officer expert, a police practices expert says, well, since
18    the evidence against this guy was otherwise so strong, the
19    police really didn't have to turn that over to the
20    prosecutors. I mean, I suppose anything is possible, but I
21    would be pretty shocked if any person who is an actual police
22    practices expert would ever come into court and say that.
23               Is your person going to say that, anything like that?
24               MR. NOLAND: No.
25               THE COURT: Okay. I don't think these people can
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1     testify about materiality. I think they can testify about
2     what's appropriate police practice for turning over stuff to
3     the prosecutors who are going be, you know, handling the
4     discovery in the case and prosecuting the case. I think that
5     we'd need to come up with some other wording other than just a
6     bare exculpatory, or maybe it could be dealt with by way of an
7     instruction that I would give the jury at the appropriate time
8     during the testimony or during the trial, and maybe you could
9     come up with something there. But I think that's really the
10    way to handle it. I don't think it's inappropriate for
11    somebody like Mr. Reiter on the one hand or is it Mr. Allee?
12               MR. NOLAND: Yes.
13               THE COURT: -- Mr. Allee on the other hand to say no,
14    this is not the kind of thing that police officers are
15    supposed to turn over to prosecutors and here's why, or this
16    is the kind of thing that police officers are supposed to turn
17    over to prosecutors and here's why, without trying to put the
18    bottom line conclusion on it that essentially tracks what the
19    jury has to find in the case.
20               Okay. So what I'm hoping here is that I'm giving you
21    enough guidance so that you can sort of go back, ponder it and
22    maybe even talk and come back to me and say, okay, here's what
23    we propose to do on that. Have I given you enough to do that?
24               MR. NOLAND: Yes.
25               I think we have an additional point with respect to
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1     Reiter.
2                THE COURT: Okay. What's the additional point?
3     That's what I was going to ask.
4                MR. NOLAND: The point is that his testimony is
5     basically --
6                THE COURT: This is Reiter?
7                MR. NOLAND: This is Mr. Reiter, the plaintiff's
8     expert, is basically if there's a note in the file that says
9     that the Pope committed these murders, that that's potentially
10    exculpatory information that should be turned over. If the
11    jury hears anything like that, it will only cause confusion.
12    It's just a false statement. It's incorrect.
13               THE COURT: Okay. And I noticed you didn't put it
14    quite -- you didn't have quite as colorful an example in the
15    brief. So the note that I made on that is what is the rule of
16    evidence that says that false testimony isn't admissible. I'd
17    like to know it because it would make all of my trials way
18    shorter. I could keep a lot of stuff out.
19               MR. NOLAND: It goes to the foundation. It is the
20    Daubert issue with respect to the basis of his opinion. He
21    doesn't have a foundation to say that because it's
22    inconsistent completely with the law.
23               THE COURT: Yeah. I think that's -- honestly, if I
24    had an expert on the other side of that case, about the last
25    thing I would do would ask him -- would be to ask the judge to
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1     exclude it. I'd say come on. I could do ten minutes of cross
2     just on that point without even preparing.
3                So I think it's a weight issue. I think it's an
4     issue for cross examination. I mean, there's that language in
5     Daubert about, you know, the best way of testing weak opinions
6     is by cross examination. I think it's a weight issue. I
7     don't think I can find as a matter of law that that
8     disqualifies him from testifying.
9                So I'm going to move on from number 7, although I got
10    to make a note first.
11               Okay. Number 9, bar argument regarding plaintiff
12    being placed in a lineup.
13               MS. GORMAN: Number 8.
14               THE COURT: I keep doing that. The broken heart
15    testimony. All right. So let me just get to the response
16    because I think I had a question for the plaintiff on that.
17    Bear with me.
18               Okay. What's the relevance of this? What's the
19    relevance of the testimony that his mother died in his arms?
20    I mean, it's a sad thing, obviously, but what's the relevance
21    of it in this case?
22               MS. GORMAN: No, it's not in his arms. He was in
23    prison. He's just talking about his losses, the things he
24    missed while he was in prison, and one was that his mother
25    died and he was not allowed to go to the funeral.
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1                THE COURT: Okay. Stop right there.
2                What about that? If that's what I let him put in and
3     he's talking about the things I missed from being in prison, I
4     mean, and that's clearly an appropriate subject of damages
5     testimony.
6                MR. NOLAND: That's admissible.
7                THE COURT: That's admissible. That's what you can
8     do. Nothing about how I could have prevented it. Nothing
9     about, you know, I would have liked to hold her, things like
10    that. It's like she died and I wasn't there and I wasn't able
11    to be there when she was in her final days and that kind of
12    thing. You can put that in.
13               Okay. So now we're on to 9. Let me just make a note
14    about 8, though.
15               Number 9 is -- oh, okay. So testimony about the
16    Vaughn-White. So the question I had, I had two questions for
17    the defendant based on the response that was filed by the
18    plaintiff. Number one, the plaintiff tells me that there is a
19    form that was filled out or that was prepared by Detective
20    O'Callaghan and approved by I don't know if it's Sergeant
21    Murphy, I think it's Sergeant Murphy, which requests that
22    Nathson Fields be held past his court call so that he could be
23    held in a lineup, da-da-da. The form read, or at least
24    initially read the victims were Vaughn and White.
25               Why wouldn't that document be a sufficient basis to
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1     allow the plaintiff to get into this issue?
2                MR. NOLAND: Because there's no evidence that a
3     Vaughn-White lineup was held. It's speculation.
4                THE COURT: Well, but then farther down the page
5     Mr. Fields says he's going to testify that he recalls being
6     put into two separate lineups.
7                MR. NOLAND: And he recalls that they were in close
8     proximity to each other, and in fact the lineups for the
9     Smith-Hickman case, according to the lineup report and our
10    clients' testimony, took place one hour apart.
11               THE COURT: So there were more than one lineup for
12    Smith-Hickman?
13               MR. NOLAND: I guess depends how you look -- it was
14    the same fillers and everything. They just had them wait
15    around for an hour for another witness to come in.
16               THE COURT: The lineup was -- the identification
17    procedure was conducted more than once for Smith-Hickman.
18               MR. NOLAND: Yes.
19               THE COURT: In other words, once for some witnesses,
20    once, and not a good time for other witnesses, and that
21    happened close in time.
22               MR. NOLAND: An hour later and with the same fillers,
23    so they just -- everybody stuck around.
24               THE COURT: What you're saying, then, is that what
25    Mr. Fields must have been talking about when he talked about
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1     two lineups was the two Smith-Hickman lineups.
2                MR. NOLAND: Right.
3                THE COURT: What about that?
4                MS. GORMAN: Two things, your Honor. First, the
5     report that we're talking about is at Exhibit I.
6                THE COURT: I.
7                MS. GORMAN: Yes.
8                That shows that he was being held over for the
9     Vaughn-White lineup.
10               THE COURT: Wait a second. It's not I. I is an
11    excerpt from the testimony of the hearing before Judge
12    Biebel.
13               MS. GORMAN: I'm sorry. It's H.
14               THE COURT: H. Okay.
15               So I don't know what the reports on the actual
16    lineups are, but is there a lineup that happened on or about
17    the 14th of June at 1300 hours or around that time?
18               MS. GORMAN: There is, your Honor.
19               And getting to what counsel said about this all being
20    one lineup, Mr. Fields recalls being taken to a lineup room on
21    two separate occasions that day with different groups of
22    people. So that's different than just sitting around waiting
23    in that same room with that same group of people for an hour
24    while different witnesses come in.
25               THE COURT: Mr. Noland.
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1                MR. NOLAND: I don't recall that testimony.
2                THE COURT: Anything else on this?
3                MR. NOLAND: Nothing else on that.
4                I don't recall the testimony Mr. Field saying that
5     there were different fillers in the lineup with him.
6                MS. GORMAN: That's because it wasn't asked by
7     counsel, your Honor, but what he did say was he recalled two
8     separate lineups. And if he had asked further how do you
9     know --
10               THE COURT: Here's what I think about this. I think
11    that, first of all, the question of whether there actually was
12    a lineup for Vaughn-White, again, is not a question that's
13    appropriate for me to decide on a motion in limine. I mean, I
14    think that the existence of this document, Exhibit 8 to the
15    plaintiff -- H, H as in Henry, to the plaintiff's response
16    signed by O'Callaghan and Murphy that asked to hold him past
17    the court call to be put in a lineup for Vaughn-White is at
18    least evidence that they intended to do that, and evidence
19    that somebody intended to do something plus reasonable
20    inferences from what Mr. Fields happened I think would permit
21    somebody to conclude, wouldn't compel it, maybe it wouldn't
22    even compel it all that strongly, but would permit somebody to
23    conclude okay, yeah, he really was put in a lineup for Vaughn
24    and White.
25               So I'm not going to exclude the evidence. And I
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1     think the better way to deal with this is -- I mean, again,
2     it's going to become clearer I think as the trial goes along
3     exactly where Vaughn-White fits into this whole thing, and you
4     can raise it again before closing argument.
5                MS. GORMAN: Thank you.
6                THE COURT: Okay. We're getting kind of close to
7     when I'm going to have to stop here.
8                Number 10, Fields' rejection of a plea offer for time
9     served. Jeez, I can't think of anything more relevant. What
10    am I missing? I mean, the argument is that that's not
11    relevant. It's hard for me to imagine anything more relevant.
12    You know, you had an opportunity to walk out of jail today and
13    I turned it down because -- and I turned it down. I mean,
14    that's evidence that's --
15               I agree with the cases you cite, but those are all
16    cases about the admissibility of a plea offer in a criminal
17    prosecution where there's a rule that says it can't be offered
18    or admitted in a criminal prosecution. That's not what's
19    being talked about here. So what am I missing?
20               MR. NOLAND: It's inadmissible under Rule 408, and
21    it's a prior consistent statement as well that's inadmissible.
22    He pled guilty to these crimes years ago, and that is simply a
23    reaffirmation of that.
24               THE COURT: Pled not guilt.
25               MR. NOLAND: I'm sorry. He pled not guilty. Excuse
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1     me.
2                THE COURT: It's not simply a reaffirmation because
3     pleading not guilty in the first instance means you're going
4     to trial. Pleading not guilty in this context means you walk
5     out of jail. Those are two massively different things. It
6     goes to weight, not admissibility. Motion 10 is denied.
7                Number 11. Oh, so this is the issue about the jury
8     selection. Okay. Frankly, the material that was submitted by
9     the City in response to this is consistent with what I have
10    been told in other cases, but I thought it was important to
11    make a record of it in this case. And that's the statement in
12    further support of motion in limine number 11, which is docket
13    entry number 538. It's an affidavit from Sergeant Harris and
14    so on.
15               So basically the way I've always understood -- and, I
16    mean, I've had this issue kind of hashed out before me.
17    There's probably three or four trials of where I've allowed it
18    to be done under some fairly strict procedural constraints.
19               What I've been told is it's not NCIC, which is the
20    federal database, it's not L-E-A-D-S, LEADS, which is the
21    state database, both of which have very strict controls on how
22    it can be used. It's an internal Chicago Police Department
23    database. It's populated with Chicago arrests, and then there
24    are some suburbs, not all but some suburbs in Cook County that
25    also contribute information to it, and so it contains some but
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1     not all suburban arrests. And that there's, you know,
2     internal City rules about how this can be used, and, you know,
3     Mr. Noland and his colleagues attached those as an exhibit to
4     their supplemental submission.
5                And so what else would you like to tell me about this
6     on the plaintiff's side?
7                MS. GORMAN: Your Honor, the only other thing I would
8     say if you're going to allow them to do that, because I think,
9     as I said in the response, I think it's not fair to the jury.
10    We take their word for following the law but not for --
11               THE COURT: So here's the problem as I've always seen
12    it, and it largely is a practical problem, and it really comes
13    from the experience that Judge St. Eve had in the case that's
14    cited on the -- I think in somebody's paper's here. I think
15    it's the defendants' papers. Judge St. Eve had a case where
16    it wasn't done at the beginning. And maybe there wasn't even
17    a request to do it at the beginning. And then during the
18    trial people found it out, and then there was a massive
19    problem because it was determined that a juror had said
20    something that was untrue.
21               And I don't believe, and I have said this on other
22    occasion in other cases, I don't believe that I have the
23    authority to preclude somebody from doing an investigation
24    about something. I mean, there's all sorts of public
25    databases where you can come up with conviction information.
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1     And, frankly, that's what happened during Judge Pallmeyer's
2     trial in the George Ryan case. It was publicly available
3     information from which the press initially found out that
4     there were jurors that had convictions that they quite clearly
5     had not disclosed, and there it came out during jury
6     deliberations, again, leading to a massive problem.
7                So since I can't preclude that, and since nobody in
8     my position, at least, in their right mind would want to find
9     out something like this in the middle of trial, basically in
10    the same way that it could be found out before trial in a way
11    that I really can't prevent, I don't think, then my conclusion
12    has been that the better way to do it is to put procedural
13    controls on it as to how and when it's going to be done and I
14    front it with the jury.
15               So what I've done with this in at least two of -- I
16    think I've done this -- I've allowed this in three cases. And
17    there's certainly an argument to be made -- and I know for a
18    fact that Judge St. Eve has not done it in some cases more
19    recently. There's an argument to be made that it has a
20    chilling effect on jurors. Okay. The problem is it has a
21    chilling effect -- what kind of chilling effect does it have
22    when it comes out in the middle of the trial and the juror is
23    told and other jurors find out, other people in the community
24    find out that they're investigating the jury in the middle of
25    the trial and bumping them off the jury? It's the same
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1     chilling effect.
2                So what I have done in other cases, so procedurally
3     the way this tends to work for me is there's a written
4     questionnaire, and we're going to talk about that later, which
5     they fill out somewhere else. Usually my law clerks are
6     administering it to them. In these situations what I have
7     done is I've gone down to where they're doing it, it's usually
8     another courtroom, with the court reporter, I think wearing
9     the robe, and I've basically given them a little introduction.
10    I'm going to tell you more in the courtroom, but you're going
11    to fill out a questionnaire, and just want to talk to you a
12    little bit about the questionnaire. And I talk to them about
13    the importance of being accurate, and I do not specifically
14    say somebody's going to run a background check on you, but
15    what I do say is that what you have to understand and what you
16    have to keep in mind when you're filling out this
17    questionnaire is that it's important to be a hundred percent
18    candid and accurate because if you're not, you have to figure
19    that somebody's going to find it out, and then we're going to
20    have a real problem because then somebody is going to be
21    coming back to me and saying that a juror lied about something
22    or left something off, and it's going to be very problematic
23    if I don't find this out now, and so it's really important for
24    you to be candid.
25               And I'm not going say that that eliminated all the
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1     problems because I don't know whether it eliminated all the
2     problems. And I can't say that it even eliminated the
3     problems that I know about because I think in one of those
4     cases there was still a little bit of an issue. There was
5     something that popped up that it wasn't clear whether it was
6     an arrest or not. Anyway, but I think that's the better way
7     of doing it.
8                And so the procedural thing that I have done in other
9     cases -- and I don't think your firm has been in any of them.
10    I think a couple of the outside firms representing the City
11    have, but not your firm. What I'd say is, okay, the jury list
12    is going to be available for you, for both sides, at my
13    courtroom deputy's office at X. X is like 9:00. You have --
14    you can come get it then. You have to run every name. You
15    have to run every name. You have to bring to court by no
16    later than 11:00 the complete results of everything you have.
17    In other words, if there's any hits at all, you must print out
18    all the hits, and you have to come in with a copy for the
19    other side. We address it before I've completed the
20    questioning of any jurors, and I address it with them at side
21    bar if there's something that turns out that doesn't show up
22    on the questionnaire. And then, you know, that way everybody
23    knows about it.
24               And if you can't comply with all of that, I'm deeming
25    you have forfeited the ability to raise the question because
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1     I've been told in the past and it's happened in the past that
2     what I have just described is completely doable.
3                So that's what I propose to do in this case.
4                MS. GORMAN: I would only ask that the jury be told
5     that the defendants are the ones doing it. I mean, I think
6     that's fair that they know that they're being surveilled by
7     the defendants.
8                THE COURT: That request is overturned. I mean, so
9     where that would lead is that then I'd be basically forced to
10    ask lawyers in every case, okay, give me an affidavit as to
11    everything you're doing to inquire into the jurors, either the
12    prospective jurors or the actual jurors. And then I'd go tell
13    the jury, oh, by the way, just so you know, you know, one side
14    is, you know, checking up on your -- is doing Google searches
15    on you. Doing Google searches on you.
16               No. I mean, come on. That request is overruled.
17               MS. GORMAN: Okay. Thank you.
18               THE COURT: So that's the conditions on which -- so
19    I'm granting number 11 under those terms and conditions.
20               All right. We're almost down to the end, but I don't
21    think we're going to be able to get done.
22               Number 12, statements by Sumner to Murphy and Swano.
23    And I know that I know this, and I know that I should be able
24    to dredge it up from memory quickly. Is Sumner the guy who's
25    dead?
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1                MR. NOLAND: Yes.
2                THE COURT: Okay. So is something about what Sumner
3     has said going to come in? The stuff that Sumner has said
4     that is inculpatory of Mr. Fields, is something about that
5     going to come in in some way, shape or form at the trial?
6                MR. NOLAND: Yes.
7                THE COURT: In what way?
8                MR. NOLAND: At least through the testimony of one or
9     more of my clients that Sumner provided them information that
10    Mr. Fields was involved in the Smith-Hickman homicides and
11    then --
12               THE COURT: That that was part of the probable cause.
13    Or that was what led them to arrest and shows that they're not
14    malicious and so on and so forth.
15               MR. NOLAND: Yes.
16               THE COURT: Yes. Okay.
17               MR. NOLAND: So at least in that frame it will come
18    in. I don't know if there would be anything else.
19               THE COURT: Okay. What's the manner -- assuming that
20    you get, on the plaintiff's side you get to put in the
21    statements that Sumner made to Chuck Murphy and Mr. Swano, how
22    are you going to put it in? Has he testified, has Sumner
23    testified about it before? How are you going to get it in?
24    That's the question. I'm talking about nuts and bolts here.
25               MR. GOODMAN: I can't remember if he --
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1                THE COURT: Well, you've thought about how you're
2     going to get it in, right, because you objected in the motion
3     in limine.
4                MR. GOODMAN: Right.
5                THE COURT: Okay. So how are you going to get it in?
6     It's not going to be just in the air. There's going to have
7     to be some way that it comes in.
8                MR. GOODMAN: Well, I guess I was focused on
9     evidentiary reasons to put it in. Exactly how we're going to
10    put it in, Judge, I don't know that I have an answer to that.
11               THE COURT: Okay. So here's the thing. If the
12    defendants are putting in statements of Mr. Sumner,
13    out-of-court statements of Mr. Sumner for purposes of showing
14    their state of mind, which is what you've just told me, under
15    Rule 806, a hearsay declarant, which is what Mr. Sumner is,
16    can be impeached in any way. Okay. So he can be impeached
17    just as if he were in court.
18               It's not -- I think it's 806.
19               MR. GOODMAN: It's 806.
20               THE COURT: It's 806. Okay. So he can be impeached
21    in any way. So assuming you can come up with a way to get
22    this in that otherwise gets over whatever foundational
23    requirements there are, then you've got it.
24               MR. GOODMAN: Okay. I think that we'd intend to call
25    the investigator, and if I'm remembering correctly, the
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1     investigator was also present. So we would probably put this
2     in through an investigator named Bleifuss, who was present
3     when the statement was taken.
4                THE COURT: Okay. So that's the way you'd impeach
5     Mr. Sumner if he were in court.
6                MR. GOODMAN: Yes.
7                THE COURT: And that would be an appropriate way of
8     doing it. So I think that's why -- that's why 12 is denied.
9                The last one we're going to do is 13, Dr. Silberberg.
10    Okay. And so this is a specific part of Dr. Silberberg's --
11    hang on a second. This is a specific part of Dr. Silberberg's
12    testimony about the interview of Mr. Fields that was done by
13    the defendants' psychologist, Dr. Wasyliw, that I gather
14    Dr. Cavanaugh then relied on. Is that basically the -- more
15    or less? Wasyliw did the face-to-face interview, not
16    Cavanaugh.
17               MR. NOLAND: Yes.
18               THE COURT: And then what did Cavanaugh get about
19    that interview? Did he get a report?
20               MR. NOLAND: He read the transcript.
21               THE COURT: There's a transcript. Okay.
22               MR. NOLAND: And he watched some of the videotape.
23               THE COURT: Okay. He watched some of the video;
24    there's a transcript. Okay.
25               And so what is it exactly that you want to put in
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1     from Silberberg about that?
2                MS. GORMAN: Dr. Silberberg said in his deposition,
3     I'm the only one that's going to be testifying that actually
4     interviewed Mr. --
5                THE COURT: So Wasyliw is not going to testify.
6     Cavanaugh is the witness.
7                MR. NOLAND: That's the plan.
8                THE COURT: Okay. So why would a judge allow an
9     expert to sort of -- I mean, what's the relevance from -- I
10    can see it being an appropriate argument. In other words, you
11    cross examine Dr. Cavanaugh to say, okay, you had this -- you
12    could have sat in on the -- there was nothing to preclude you
13    from sitting in on the interview, right? And he's going to
14    have to say no. There was nothing to preclude you from at
15    least watching the whole video of the interview. He's going
16    to have to say no. And then you argue it to your heart's
17    content. So why should I let Silberberg testify about this?
18               MS. GORMAN: Because I think it goes to the
19    reliability of his --
20               THE COURT: Okay. But Silberberg, I mean, I -- you
21    know, I can understand, I can see Silberberg saying, okay, I'm
22    going to explain to you why it's important to do a
23    face-to-face interview of a person, and here's why. But it
24    seems to me that you then want to go the next step and say and
25    this is why Cavanaugh's opinion is bogus, because he didn't do
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1     that. It seems to me that's more appropriate for argument
2     rather than testimony by a witness. I mean, am I missing
3     something?
4                MS. GORMAN: Well, I mean, I think it goes to -- I
5     mean, I think it would be nice for him to be able to go into
6     detail why an interview that takes place in person is quite
7     different --
8                THE COURT: I'm not precluding you from doing that.
9     What I'm saying is I don't -- I mean, basically what I'm
10    getting from this is you want to do all of that, plus then you
11    want to have Silberberg give a little mini closing argument
12    about Cavanaugh.
13               MS. GORMAN: Well, actually what I want him to be
14    able to say is why, why what he is saying doesn't carry much
15    credibility at all because he never interviewed him and didn't
16    even watch the whole video. I mean, that's really what we're
17    going at.
18               THE COURT: Okay. Now I get it. Let me hear from
19    the defense on that.
20               MR. MICHALIK: Judge, I think that even allowing the
21    plaintiff to argue that would be completely unfair under the
22    context in which the defense examination was --
23               THE COURT: But timeout. There was nothing to
24    prevent Cavanaugh from being there. He made a choice that he
25    wasn't going to be there. I didn't say Cavanaugh can't be
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1     there. I didn't say only one person can interview him. I
2     said there can be only one interview. I didn't control the
3     number of the people in the room.
4                MR. MICHALIK: And part of what Dr. Silberberg says
5     is that he conducted two interviews and that was critical to
6     his decision. We were precluded from doing exactly that. In
7     his own words, Silberberg --
8                THE COURT: Oh, I see what you're saying.
9                MR. MICHALIK: -- said he utilized the very
10    procedure --
11               THE COURT: Okay. I get your point on that. Let's
12    say I preclude Silberberg from saying two interviews versus
13    one is an important thing because I wouldn't let you do two.
14    What about the rest of it? I mean, what's wrong with him
15    being able to testify that being there is what you need to do,
16    it's not good enough to just read a transcript?
17               MR. MICHALIK: Because originally Dr. Cavanaugh did
18    request to do that very thing, conduct his own interview.
19               THE COURT: But what you're saying is unfair, but
20    what you're saying is unfair is that I precluded you from
21    something. I did not preclude Dr. Cavanaugh from being in the
22    interview. Right?
23               MR. MICHALIK: Well --
24               THE COURT: Did I? Well, did I?
25               MR. MICHALIK: No.
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1                THE COURT: Okay. So then that's not anything --
2     there's not anything unfair about that, so why -- so if we
3     boil down this issue, Ms. Gorman, to I'm not going to let you
4     go into two interviews versus one because I told them they
5     couldn't do two interviews.
6                MS. GORMAN: And we already agreed to that in our
7     response.
8                THE COURT: Oh, okay. Fine. That's where the line
9     gets drawn. He can testify about why the live interview is
10    important. He can testify about why it's important to be
11    there. You know, all of the reasons for that he can testify
12    about, you know, that. You can cross examine Cavanaugh on him
13    not being there.
14               And, by the way, if Cavanaugh -- and I'm familiar
15    with him. I put him on as a witness in the trial of Hamlet
16    with Justice Kennedy presiding. True story. Anyway. He's a
17    very qualified guy. He's a very skilled guy. And he's a very
18    good witness. He'd best not be blurting out on the witness
19    stand the judge wouldn't let me do it, because what's going to
20    happen when he does that is I'm going to turn to the jury and
21    I'm going to say, ladies and gentlemen, Dr. Cavanaugh is
22    incorrect about that. Here's what happened. Okay. So you'd
23    best be instructing him before the trial.
24               So, but he can't -- but Silberberg cannot testify
25    that two interviews is -- that it's the second interview
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1     that's the, you know, critical factor.
2                And that's where we're going to stop.
3                MS. GORMAN: Thank you, your Honor.
4                THE COURT: So my closing arguments and instructing
5     the jury will be done, I believe, by 10:30, and that's when
6     I'd like you back, 10:30 tomorrow. And I'm hoping to get
7     through the rest of -- we'll get through the rest of the
8     motions in limine tomorrow because we've done more than half
9     of them so far.
10               I think it's unlikely that I'll be able to give you a
11    decision on the big one, number 1, by then because I'm going
12    to have a lot to read. But if you don't get it then, you're
13    going to get it over the weekend. What you're going to find
14    is you're going to be getting rulings from me at all hours of
15    the day and all days of the week pretty much. It's kind of a
16    mania of sorts.
17               Okay. We're going to go off the record and then
18    we're going to talk about some logistical stuff.
19               (Said hearing was adjourned at 5:05 p.m., to resume
20    March 7, 2014, at 10:30 a.m.)
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